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                         Exhibit E

                       Time Records




                            10
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                                           SIDLEY AUSTIN LLP             BEIJING        HONG KONG           SHANGHAI
                                           1501 K STREET, N.W.           BOSTON         HOUSTON             SINGAPORE
                                           WASHINGTON, D.C. 20005        BRUSSELS       LONDON              SYDNEY
                                           (202) 736 8000                CENTURY CITY   LOS ANGELES         TOKYO
                                           (202) 736 8711 FAX            CHICAGO        NEW YORK            WASHINGTON, D.C.
                                                                         DALLAS         PALO ALTO
                                                                         GENEVA         SAN FRANCISCO

                                                                         FOUNDED 1866




                                                                                                    FEDERAL ID XX-XXXXXXX

                                                      June 10, 2015
       Energy Future Holdings Corp.
       1601 Bryan Street
       43rd Floor
       Dallas, TX 75291
                                                                                        PLEASE INDICATE INVOICE
                                                  **DRAFT BILL**                        NUMBER ON REMITTANCE
                                                                                        Invoice Number ******
                                                                                        Client Matter 58409-30070


For professional services rendered through November 30, 2014 re
Professional Retention


Fees                                                                                                            $3,431.50


Total Due This Bill                                                                                             $3,431.50




Remit Check Payments To:                                                           Remit Wire Payments To:
Sidley Austin LLP                                                                  Sidley Austin LLP
P.O. Box 0642                                                                      JP Morgan Chase Bank, NA
Chicago, Illinois 60690                                                            Account Number: 5519624
                                                                                   ABA Number: 071000013
                                                                                   Swift Code: CHASUS33XXX

                                Payment is Due Within 30 Days of Receipt of Invoice
                     Case 14-10979-CSS   Doc 5163-5       Filed 07/29/15      Page 77 of 148
 SIDLEY AUSTIN LLP


 Invoice Number: ******
 Energy Future Holdings Corp.

 RE: Professional Retention

                                           TIME DETAIL


Date                 Name                Narrative                                                         Hours
11/07/14             GM King             Revise declaration (0.4); review related materials (0.2)            .60
11/10/14             KS Mills            Review/comment on second supplemental retention declaration         .50
                                         (.3); analyze related issues (.2)
11/11/14             GM King             Revise supplemental declaration                                     .50
11/12/14             PS Caruso           Review draft supplemental declaration                              1.00
11/13/14             PS Caruso           Review draft supplemental declaration                              1.00
11/20/14             PS Caruso           Review supplemental declaration                                     .50
                                                                                             Total Hours    4.10
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 SIDLEY AUSTIN LLP


 Invoice Number: ******
 Energy Future Holdings Corp.

 RE: Professional Retention



                                         TIME SUMMARY



Name                                                          Hours             Rate     Amount
PS Caruso                                                       2.50          $925.00   $2,312.50
KS Mills                                                         .50           775.00     387.50
GM King                                                         1.10           665.00     731.50
Total Hours and Fees                                            4.10                    $3,431.50
                  Case 14-10979-CSS          Doc 5163-5               Filed 07/29/15      Page 79 of 148
                                           SIDLEY AUSTIN LLP                  BEIJING        HONG KONG            SHANGHAI
                                           1501 K STREET, N.W.                BOSTON         HOUSTON              SINGAPORE
                                           WASHINGTON, D.C. 20005             BRUSSELS       LONDON               SYDNEY
                                           (202) 736 8000                     CENTURY CITY   LOS ANGELES          TOKYO
                                           (202) 736 8711 FAX                 CHICAGO        NEW YORK             WASHINGTON, D.C.
                                                                              DALLAS         PALO ALTO
                                                                              GENEVA         SAN FRANCISCO

                                                                              FOUNDED 1866




                                                                                                           FEDERAL ID XX-XXXXXXX

                                                     June 10, 2015

       Energy Future Holdings Corp.
       1601 Bryan Street
       43rd Floor
       Dallas, TX 75291
                                                                                             PLEASE INDICATE INVOICE
                                                 **DRAFT BILL**                              NUMBER ON REMITTANCE
                                                                                             Invoice Number ******
                                                                                             Client Matter 58409-30070

                                           REMITTANCE PAGE
                                    For Professional Services Rendered

                                      OUTSTANDING STATEMENTS

                             Date                           Invoice                               Balance

                       10/30/14                        34059331                                $36,446.30
                       10/30/14                        34059371                                  1,944.60
                       10/30/14                        34059383                                    966.00
                       10/30/14                        34059393                                 27,822.20
                       12/12/14                        34070895                                245,019.50
                       12/12/14                        34070913                                 24,572.00

Total Outstanding Invoices                                                                                  $336,770.60

Total This Bill                                                                                                  3,431.50

Total Amount Due                                                                                            $340,202.10




                                    Please Return This Page With Your Remittance

Remit Check Payments To:                                                                Remit Wire Payments To:
Sidley Austin LLP                                                                       Sidley Austin LLP
P.O. Box 0642                                                                           JP Morgan Chase Bank, NA
Chicago, Illinois 60690                                                                 Account Number: 5519624
                                                                                        ABA Number: 071000013
                                                                                        Swift Code: CHASUS33XXX

                                Payment is Due Within 30 Days of Receipt of Invoice
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                                           SIDLEY AUSTIN LLP             BEIJING        HONG KONG           SHANGHAI
                                           1501 K STREET, N.W.           BOSTON         HOUSTON             SINGAPORE
                                           WASHINGTON, D.C. 20005        BRUSSELS       LONDON              SYDNEY
                                           (202) 736 8000                CENTURY CITY   LOS ANGELES         TOKYO
                                           (202) 736 8711 FAX            CHICAGO        NEW YORK            WASHINGTON, D.C.
                                                                         DALLAS         PALO ALTO
                                                                         GENEVA         SAN FRANCISCO

                                                                         FOUNDED 1866




                                                                                                    FEDERAL ID XX-XXXXXXX

                                                      June 10, 2015
       Energy Future Holdings Corp.
       1601 Bryan Street
       43rd Floor
       Dallas, TX 75291
                                                                                        PLEASE INDICATE INVOICE
                                                  **DRAFT BILL**                        NUMBER ON REMITTANCE
                                                                                        Invoice Number ******
                                                                                        Client Matter 58409-30090


For professional services rendered through November 30, 2014 re Fee
Applications


Fees                                                                                                           $51,689.20


Total Due This Bill                                                                                            $51,689.20




Remit Check Payments To:                                                           Remit Wire Payments To:
Sidley Austin LLP                                                                  Sidley Austin LLP
P.O. Box 0642                                                                      JP Morgan Chase Bank, NA
Chicago, Illinois 60690                                                            Account Number: 5519624
                                                                                   ABA Number: 071000013
                                                                                   Swift Code: CHASUS33XXX

                                Payment is Due Within 30 Days of Receipt of Invoice
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 SIDLEY AUSTIN LLP


 Invoice Number: ******
 Energy Future Holdings Corp.

 RE: Fee Applications

                                           TIME DETAIL


Date                 Name                Narrative                                                           Hours
11/03/14             DJ Lutes            Prepare monthly fee application materials for September              2.40
                                         including review of costs and timekeeper matters for
                                         compliance
11/04/14             PS Caruso           Review budget (.5); review September and October monthly             2.20
                                         fee apps. (1.7)
11/04/14             GM King             Call with Fee Committee re: data (0.1); call with D. Lutes re:       2.20
                                         fee applications (0.2); review filed fee data (1.9)
11/04/14             DJ Lutes            Prepare monthly fee application materials for September (1.9);       3.80
                                         review timekeeper matters re: same (1.7); communications
                                         with G. King re: same (.2)
11/04/14             KS Mills            Communications with G. King re: fee applications/related              .20
                                         communications
11/05/14             GM King             Correspondence with D. Lutes re: fee materials                        .20
11/05/14             DJ Lutes            Prepare fee application materials for September (1.1);               1.90
                                         communications with billing specialist re: fee application
                                         issues (.3); review allocations and projects re: same (.3);
                                         correspond with G. King re: fee materials (.2)
11/06/14             PS Caruso           Assess upcoming budget (.2); review September and October            1.00
                                         fee apps. (.8)
11/06/14             GM King             Review budget information (0.3); review materials in                 2.30
                                         preparation for fee applications (1.3); revise same (0.7)
11/06/14             DJ Lutes            Prepare fee application materials for September and October           .60
11/07/14             GM King             Review materials in connection with preparation of fee               2.10
                                         application (1.8); calls with D. Lutes re: preparation of fee
                                         applications (0.3)
11/07/14             DJ Lutes            Prepare fee application materials for September and October          4.20
                                         (2.3); review costs for same (.7) assess allocations re: same
                                         (.4); telephone conferences with G. King re: same (.3); emails
                                         to G. King re: same (.2); emails to billing specialist re: same
                                         (.3)
11/10/14             GM King             Review materials in preparation for fee application (2.6); revise    3.60
                                         same (0.5); communications re: fee applications (0.5)
11/10/14             DJ Lutes            Prepare fee application materials for September and October          3.10
                                         (2.9); emails with G. King re: same (.2)
11/11/14             PS Caruso           Analyze budget issues (.6) and review fee applications (.4)          1.00
11/11/14             GM King             Correspondence to Sidley team members re: budget                      .60
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 SIDLEY AUSTIN LLP


 Invoice Number: ******
 Energy Future Holdings Corp.

 RE: Fee Applications

Date                 Name                Narrative                                                           Hours
11/11/14             DJ Lutes            Prepare fee application materials for September (.9); review         3.20
                                         time entries and costs for September and October re: same
                                         (1.8); correspond to G. King re: same (.3); email to billing
                                         specialist re: fee application issues (.2)
11/11/14             KS Mills            Review proposed draft budget (.2); communications re: same            .30
                                         (.1)
11/12/14             PS Caruso           Review December budget items                                          .50
11/12/14             DJ Lutes            Prepare fee application materials for September and October          2.90
                                         (1.8); emails with billing specialist re: same (.2); review costs
                                         and related cost calculations (.9)
11/13/14             PS Caruso           Review draft December budget                                          .50
11/13/14             GM King             Correspondence re: monthly applications (0.2)                         .20
11/13/14             DJ Lutes            Prepare fee application expense materials for September (.9);        1.90
                                         prepare October fee application materials (.4) review
                                         allocations and summaries re: same (.4); email G. King re:
                                         monthly applications (.2)
11/14/14             PS Caruso           Communications with K. Mills regarding UST requests                   .20
11/14/14             GM King             Call with K. Mills re: fee applications (0.3); analyze same (0.1)     .40
11/14/14             KS Mills            Communications w/ G. King re: certain fee application issues         1.00
                                         (.3); analyze certain related issues/related materials (.7)
11/17/14             PS Caruso           Review budgets (.9); discuss same with G. King (.4)                  1.30
11/17/14             GM King             Revise December budget                                                .80
11/17/14             KS Mills            Analyze certain fee application issues (.8); review/analyze          2.70
                                         related materials; (.8); communications with certain Sidley
                                         team members regarding same (.3); follow up communications
                                         with Company regarding same (.2); review proposed draft
                                         budget (.4); follow up communications with certain Sidley
                                         team members (.2)
11/18/14             B Beaton            Prepare Luminant fee application materials                           1.10
11/18/14             PS Caruso           Review materials in connection with inquiries from UST               1.00
                                         regarding fee applications
11/18/14             PS Caruso           Review draft September and October fee applications                   .50
11/18/14             DJ Lutes            Prepare Luminant fee application materials for September and         2.60
                                         October (1.1); emails with B. Beaton re: cost issue (.1); review
                                         documentation re: same (.5); prepare summary re: same (.3);
                                         prepare exhibits for September and October fee applications
                                         (.6)
11/18/14             KS Mills            Review inquiry from UST (.1); t/call with Company re:                 .60
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 SIDLEY AUSTIN LLP


 Invoice Number: ******
 Energy Future Holdings Corp.

 RE: Fee Applications

Date                 Name                Narrative                                                           Hours
                                         same(.1) various communications with Sidley team members
                                         regarding information responsive to same (.4)
11/19/14             PS Caruso           Analyze issues re: UST and objection deadline (.2);                   .50
                                         communications with Sidley team re: same (.3)
11/19/14             GM King             Review invoice materials in preparation for fee application          6.20
                                         (0.8); Call with K. Mill re: fee application (0.2); review fee
                                         application materials (0.1); prepare budget for first interim fee
                                         application (3.4); prepare supporting materials re: interim fees
                                         (1.7)
11/19/14             DJ Lutes            Prepare interim fee application and budget materials (.6);           3.50
                                         review spreadsheet calculations for G. King (1.7); correspond
                                         with G. King re: same (.4); prepare monthly fee statement for
                                         October (.8)
11/19/14             KS Mills            Various communications with Sidley team members regarding            1.10
                                         information responsive to UST inquiry (1.0); communications
                                         with UST re: same (.1)
11/20/14             GM King             Correspondence with EFH re: budget (0.1); correspondence              .30
                                         with Sidley team members re: budgets (0.2)
11/20/14             DJ Lutes            Prepare fee application materials for October (1.5); email with      1.90
                                         billing specialist re: same (.2); correspondence to G. King re:
                                         same (.2)
11/20/14             KS Mills            Review/revise draft budget and staffing memo for April-              3.30
                                         August 2014 (.5); prepare draft voluntary rate disclosures and
                                         review/analyze related issues/materials (2.3); various
                                         communications with Sidley team members re: same (.5)
11/21/14             PS Caruso           Analyze supplemental disclosures for US Trustee (1.0);               1.90
                                         communications with K. Mills regarding fee applications (.9)
11/21/14             DJ Lutes            Prepare fee application materials for October                        1.80
11/21/14             KS Mills            Analyze status of response to UST Trustee request (.3); email         .50
                                         R. Shepacarter re: same (.2)
11/24/14             PS Caruso           Analyze disclosures requested by UST (.6); communications            1.00
                                         with K. Mills regarding same (.4)
11/24/14             KS Mills            Various communications with certain Sidley team members re:          1.00
                                         information responsive to UST inquiry (.3); analyze certain
                                         related issues (.7)
11/25/14             PS Caruso           Further communications with K. Mills and G. King regarding           1.00
                                         fee applications and UST communications
11/25/14             GM King             Prepare fee application materials for October (3.4);                 3.80
                                         correspondence re: same (0.4)
                     Case 14-10979-CSS   Doc 5163-5      Filed 07/29/15       Page 84 of 148
 SIDLEY AUSTIN LLP


 Invoice Number: ******
 Energy Future Holdings Corp.

 RE: Fee Applications

Date                 Name                Narrative                                                         Hours
11/25/14             DJ Lutes            Prepare fee application materials for October (.4); emails to      1.20
                                         Sidley team re: same (.2); emails to B. Beaton re: same (.3);
                                         correspond with G. King re: CNO's and fee application matters
                                         (.3)
11/25/14             KS Mills            Analyze status of response to UST Trustee request (.3); various     .60
                                         communications with Sidley team members re: same and email
                                         R. Shepacarter re: same (.3)
11/26/14             PS Caruso           Communications with K. Mills regarding UST questions to fee        1.50
                                         applications (.6); review draft responses (.6); review e-mails
                                         from UST (.3)
11/26/14             GM King             Prepare CNO's for filing (0.8); draft materials for payment        3.20
                                         package (2.4)
                                                                                            Total Hours    87.40
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 SIDLEY AUSTIN LLP


 Invoice Number: ******
 Energy Future Holdings Corp.

 RE: Fee Applications



                                         TIME SUMMARY



Name                                                          Hours             Rate      Amount
PS Caruso                                                      14.10          $925.00   $13,042.50
KS Mills                                                       11.30           775.00     8,757.50
GM King                                                        25.90           665.00    17,223.50
B Beaton                                                        1.10           537.00      590.70
DJ Lutes                                                       35.00           345.00    12,075.00
Total Hours and Fees                                           87.40                    $51,689.20
                  Case 14-10979-CSS          Doc 5163-5               Filed 07/29/15      Page 86 of 148
                                           SIDLEY AUSTIN LLP                  BEIJING        HONG KONG            SHANGHAI
                                           1501 K STREET, N.W.                BOSTON         HOUSTON              SINGAPORE
                                           WASHINGTON, D.C. 20005             BRUSSELS       LONDON               SYDNEY
                                           (202) 736 8000                     CENTURY CITY   LOS ANGELES          TOKYO
                                           (202) 736 8711 FAX                 CHICAGO        NEW YORK             WASHINGTON, D.C.
                                                                              DALLAS         PALO ALTO
                                                                              GENEVA         SAN FRANCISCO

                                                                              FOUNDED 1866




                                                                                                           FEDERAL ID XX-XXXXXXX

                                                     June 10, 2015

       Energy Future Holdings Corp.
       1601 Bryan Street
       43rd Floor
       Dallas, TX 75291
                                                                                             PLEASE INDICATE INVOICE
                                                 **DRAFT BILL**                              NUMBER ON REMITTANCE
                                                                                             Invoice Number ******
                                                                                             Client Matter 58409-30090

                                           REMITTANCE PAGE
                                    For Professional Services Rendered

                                      OUTSTANDING STATEMENTS

                             Date                           Invoice                               Balance

                       10/30/14                        34059394                                  $255.30
                       12/12/14                        34070896                                 78,530.30
                       12/12/14                        34070914                                122,256.10

Total Outstanding Invoices                                                                                  $201,041.70

Total This Bill                                                                                                51,689.20

Total Amount Due                                                                                            $252,730.90




                                    Please Return This Page With Your Remittance

Remit Check Payments To:                                                                Remit Wire Payments To:
Sidley Austin LLP                                                                       Sidley Austin LLP
P.O. Box 0642                                                                           JP Morgan Chase Bank, NA
Chicago, Illinois 60690                                                                 Account Number: 5519624
                                                                                        ABA Number: 071000013
                                                                                        Swift Code: CHASUS33XXX

                                Payment is Due Within 30 Days of Receipt of Invoice
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                                           SIDLEY AUSTIN LLP             BEIJING        HONG KONG           SHANGHAI
                                           1501 K STREET, N.W.           BOSTON         HOUSTON             SINGAPORE
                                           WASHINGTON, D.C. 20005        BRUSSELS       LONDON              SYDNEY
                                           (202) 736 8000                CENTURY CITY   LOS ANGELES         TOKYO
                                           (202) 736 8711 FAX            CHICAGO        NEW YORK            WASHINGTON, D.C.
                                                                         DALLAS         PALO ALTO
                                                                         GENEVA         SAN FRANCISCO

                                                                         FOUNDED 1866




                                                                                                    FEDERAL ID XX-XXXXXXX

                                                      June 10, 2015
       Energy Future Holdings Corp.
       1601 Bryan Street
       43rd Floor
       Dallas, TX 75291
                                                                                        PLEASE INDICATE INVOICE
                                                  **DRAFT BILL**                        NUMBER ON REMITTANCE
                                                                                        Invoice Number ******
                                                                                        Client Matter 58409-30100


For professional services rendered through November 30, 2014 re Case
Administration


Expenses:
 Duplicating Charges                                                       $13.10
 Court Costs                                                               198.00
 Meals - Out of Town                                                        43.99
 Telephone Tolls                                                           210.19


Total Expenses                                                                                                      465.28


Total Due This Bill                                                                                                $465.28




Remit Check Payments To:                                                           Remit Wire Payments To:
Sidley Austin LLP                                                                  Sidley Austin LLP
P.O. Box 0642                                                                      JP Morgan Chase Bank, NA
Chicago, Illinois 60690                                                            Account Number: 5519624
                                                                                   ABA Number: 071000013
                                                                                   Swift Code: CHASUS33XXX

                                Payment is Due Within 30 Days of Receipt of Invoice
                  Case 14-10979-CSS          Doc 5163-5               Filed 07/29/15      Page 88 of 148
                                           SIDLEY AUSTIN LLP                  BEIJING        HONG KONG            SHANGHAI
                                           1501 K STREET, N.W.                BOSTON         HOUSTON              SINGAPORE
                                           WASHINGTON, D.C. 20005             BRUSSELS       LONDON               SYDNEY
                                           (202) 736 8000                     CENTURY CITY   LOS ANGELES          TOKYO
                                           (202) 736 8711 FAX                 CHICAGO        NEW YORK             WASHINGTON, D.C.
                                                                              DALLAS         PALO ALTO
                                                                              GENEVA         SAN FRANCISCO

                                                                              FOUNDED 1866




                                                                                                           FEDERAL ID XX-XXXXXXX

                                                     June 10, 2015

       Energy Future Holdings Corp.
       1601 Bryan Street
       43rd Floor
       Dallas, TX 75291
                                                                                             PLEASE INDICATE INVOICE
                                                 **DRAFT BILL**                              NUMBER ON REMITTANCE
                                                                                             Invoice Number ******
                                                                                             Client Matter 58409-30100

                                           REMITTANCE PAGE
                                    For Professional Services Rendered

                                      OUTSTANDING STATEMENTS

                             Date                           Invoice                               Balance

                       10/30/14                        34059336                                 $1,372.60
                       10/30/14                        34059373                                  2,199.10
                       10/30/14                        34059384                                  2,497.40
                       10/30/14                        34059395                                  5,118.00
                       12/12/14                        34070899                                 40,786.07
                       12/12/14                        34070916                                100,905.27

Total Outstanding Invoices                                                                                  $152,878.44

Total This Bill                                                                                                    465.28

Total Amount Due                                                                                            $153,343.72




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Remit Check Payments To:                                                                Remit Wire Payments To:
Sidley Austin LLP                                                                       Sidley Austin LLP
P.O. Box 0642                                                                           JP Morgan Chase Bank, NA
Chicago, Illinois 60690                                                                 Account Number: 5519624
                                                                                        ABA Number: 071000013
                                                                                        Swift Code: CHASUS33XXX

                                Payment is Due Within 30 Days of Receipt of Invoice
                  Case 14-10979-CSS           Doc 5163-5          Filed 07/29/15      Page 89 of 148
                                            SIDLEY AUSTIN LLP             BEIJING        HONG KONG           SHANGHAI
                                            1501 K STREET, N.W.           BOSTON         HOUSTON             SINGAPORE
                                            WASHINGTON, D.C. 20005        BRUSSELS       LONDON              SYDNEY
                                            (202) 736 8000                CENTURY CITY   LOS ANGELES         TOKYO
                                            (202) 736 8711 FAX            CHICAGO        NEW YORK            WASHINGTON, D.C.
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                                                                          GENEVA         SAN FRANCISCO

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                                                                                                     FEDERAL ID XX-XXXXXXX

                                                       June 10, 2015
       Energy Future Holdings Corp.
       1601 Bryan Street
       43rd Floor
       Dallas, TX 75291
                                                                                         PLEASE INDICATE INVOICE
                                                   **DRAFT BILL**                        NUMBER ON REMITTANCE
                                                                                         Invoice Number ******
                                                                                         Client Matter 58409-30240


For professional services rendered through November 30, 2014 re Inter-
Company Issues


Fees                                                                                                            $31,375.00


Total Due This Bill                                                                                             $31,375.00




Remit Check Payments To:                                                            Remit Wire Payments To:
Sidley Austin LLP                                                                   Sidley Austin LLP
P.O. Box 0642                                                                       JP Morgan Chase Bank, NA
Chicago, Illinois 60690                                                             Account Number: 5519624
                                                                                    ABA Number: 071000013
                                                                                    Swift Code: CHASUS33XXX

                                 Payment is Due Within 30 Days of Receipt of Invoice
                     Case 14-10979-CSS   Doc 5163-5       Filed 07/29/15      Page 90 of 148
 SIDLEY AUSTIN LLP


 Invoice Number: ******
 Energy Future Holdings Corp.

 RE: Inter-Company Issues

                                           TIME DETAIL


Date                 Name                Narrative                                                         Hours
11/03/14             PS Caruso           Telephonically attend Court hearing regarding ONCOR bid            4.00
                                         procedures motion (.5); office conference and communications
                                         with J. Conlan regarding hearing and intercompany matters
                                         (1.0); review issues re: bid procedures (.8); analyze inter-
                                         company matters (1.7)
11/03/14             MA Clemente         Attend telephonic ruling (.8); follow up discussion of ruling      1.60
                                         (.8)
11/03/14             JF Conlan           Office conference and communications with P. Caruso re: bid        2.50
                                         procedures motion (1.0); analyze approach to intercompany
                                         issues (.8); review materials re: same (.7)
11/04/14             PS Caruso           Review recent pleadings re: potential intercompany issues (1.3)    1.80
                                         communications with J. Conlan regarding governance (.5)
11/04/14             JF Conlan           Review intercompany points (.4); communications re same (.6)       1.00
11/05/14             PS Caruso           Assess inter-company issues (.9); review materials re: same        3.00
                                         (.9); office conference with J. Conlan regarding governance
                                         (.7); office conference with M. Clemente regarding
                                         intercompany issues (.5)
11/06/14             PS Caruso           Office conference with M. Clemente regarding bid procedures         .20
11/07/14             PS Caruso           Assess governance issues (.5); office conference with J. Conlan    1.30
                                         regarding same (.8)
11/10/14             PS Caruso           Review pleadings re: intercompany issues (.7); review and          1.50
                                         analyze inter-company issues involving auction process (.8)
11/10/14             MA Clemente         Case update (.6); conf with Caruso regarding bid procedures        1.10
                                         and governance (.5)
11/12/14             PS Caruso           Review and analyze inter-company issues based on recent            1.00
                                         events
11/13/14             JF Conlan           Analyze intercompany issues based on recent events                  .50
11/14/14             MA Clemente         Analyze case materials re: recent developments                     1.00
11/17/14             PS Caruso           Office conference with M. Clemente regarding intercompany           .50
                                         issues
11/17/14             JF Conlan           Analyze issues re: independent director counsel (.8); analyze      1.50
                                         issues re: approach and Sponsor claims (.7)
11/18/14             PS Caruso           Review pleadings (.5); communications with J. Conlan               1.00
                                         regarding inter-company analysis (.5)
11/19/14             PS Caruso           Communications with J. Conlan regarding case status (.3);          1.00
                                         review recent matters re: intercompany issues (.7)
                     Case 14-10979-CSS   Doc 5163-5      Filed 07/29/15       Page 91 of 148
 SIDLEY AUSTIN LLP


 Invoice Number: ******
 Energy Future Holdings Corp.

 RE: Inter-Company Issues

Date                 Name                Narrative                                                        Hours
11/20/14             PS Caruso           Asses inter-company issues in light of proposed Oncor             1.00
                                         marketing
11/21/14             PS Caruso           Review materials re: potential intercompany matters                .60
11/24/14             PS Caruso           Office conference with J. Conlan regarding potential inter-       1.00
                                         company issues following bid procedures hearing
11/24/14             JF Conlan           Analyze approach re: recent developments in intercompany          1.30
                                         governance
11/25/14             PS Caruso           Office conference with J. Conlan regarding potential inter-        .50
                                         company issues
11/25/14             MA Clemente         Review recent materials re: intercompany issues                   1.00
11/25/14             JF Conlan           Analyze authority related points re: intercompany issues          1.50
11/26/14             PS Caruso           Office conference with J. Conlan regarding inter-company           .50
                                         issues
                                                                                            Total Hours   31.90
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 SIDLEY AUSTIN LLP


 Invoice Number: ******
 Energy Future Holdings Corp.

 RE: Inter-Company Issues



                                         TIME SUMMARY



Name                                                          Hours             Rate      Amount
JF Conlan                                                       8.30        $1,150.00    $9,545.00
MA Clemente                                                     4.70           925.00     4,347.50
PS Caruso                                                      18.90           925.00    17,482.50
Total Hours and Fees                                           31.90                    $31,375.00
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                                           SIDLEY AUSTIN LLP                  BEIJING        HONG KONG            SHANGHAI
                                           1501 K STREET, N.W.                BOSTON         HOUSTON              SINGAPORE
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                                           (202) 736 8711 FAX                 CHICAGO        NEW YORK             WASHINGTON, D.C.
                                                                              DALLAS         PALO ALTO
                                                                              GENEVA         SAN FRANCISCO

                                                                              FOUNDED 1866




                                                                                                           FEDERAL ID XX-XXXXXXX

                                                     June 10, 2015

       Energy Future Holdings Corp.
       1601 Bryan Street
       43rd Floor
       Dallas, TX 75291
                                                                                             PLEASE INDICATE INVOICE
                                                 **DRAFT BILL**                              NUMBER ON REMITTANCE
                                                                                             Invoice Number ******
                                                                                             Client Matter 58409-30240

                                           REMITTANCE PAGE
                                    For Professional Services Rendered

                                      OUTSTANDING STATEMENTS

                             Date                           Invoice                               Balance

                       12/12/14                        34070901                                 $4,154.50
                       12/12/14                        34070918                                  5,550.00

Total Outstanding Invoices                                                                                     $9,704.50

Total This Bill                                                                                                31,375.00

Total Amount Due                                                                                              $41,079.50




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Sidley Austin LLP                                                                       Sidley Austin LLP
P.O. Box 0642                                                                           JP Morgan Chase Bank, NA
Chicago, Illinois 60690                                                                 Account Number: 5519624
                                                                                        ABA Number: 071000013
                                                                                        Swift Code: CHASUS33XXX

                                Payment is Due Within 30 Days of Receipt of Invoice
                  Case 14-10979-CSS          Doc 5163-5          Filed 07/29/15      Page 94 of 148
                                           SIDLEY AUSTIN LLP             BEIJING        HONG KONG           SHANGHAI
                                           1501 K STREET, N.W.           BOSTON         HOUSTON             SINGAPORE
                                           WASHINGTON, D.C. 20005        BRUSSELS       LONDON              SYDNEY
                                           (202) 736 8000                CENTURY CITY   LOS ANGELES         TOKYO
                                           (202) 736 8711 FAX            CHICAGO        NEW YORK            WASHINGTON, D.C.
                                                                         DALLAS         PALO ALTO
                                                                         GENEVA         SAN FRANCISCO

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                                                      June 10, 2015
       Energy Future Holdings Corp.
       1601 Bryan Street
       43rd Floor
       Dallas, TX 75291
                                                                                        PLEASE INDICATE INVOICE
                                                  **DRAFT BILL**                        NUMBER ON REMITTANCE
                                                                                        Invoice Number ******
                                                                                        Client Matter 58409-30260


For professional services rendered through November 30, 2014 re
Sponsor Matters


Fees                                                                                                            $6,760.00


Total Due This Bill                                                                                             $6,760.00




Remit Check Payments To:                                                           Remit Wire Payments To:
Sidley Austin LLP                                                                  Sidley Austin LLP
P.O. Box 0642                                                                      JP Morgan Chase Bank, NA
Chicago, Illinois 60690                                                            Account Number: 5519624
                                                                                   ABA Number: 071000013
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 SIDLEY AUSTIN LLP


 Invoice Number: ******
 Energy Future Holdings Corp.

 RE: Sponsor Matters

                                           TIME DETAIL


Date                 Name                Narrative                                                        Hours
11/10/14             PS Caruso           Assess materials involving potential sponsor issues               1.00
11/11/14             PS Caruso           Assess materials involving potential sponsor issues               1.00
11/11/14             MA Clemente         Conf with Caruso regarding Sponsor Matters                        1.00
11/13/14             KS Mills            Review certain recently filed pleadings re: potential sponsor     1.80
                                         issues
11/14/14             PS Caruso           Assess pleadings involving potential sponsor issues (1.0);        2.30
                                         review pleadings re: potential sponsor issues (1.3)
11/20/14             PS Caruso           Communications with P. Keisler regarding Sponsor Matters           .50
                                                                                            Total Hours    7.60
                     Case 14-10979-CSS   Doc 5163-5   Filed 07/29/15   Page 96 of 148
 SIDLEY AUSTIN LLP


 Invoice Number: ******
 Energy Future Holdings Corp.

 RE: Sponsor Matters



                                         TIME SUMMARY



Name                                                          Hours             Rate     Amount
MA Clemente                                                     1.00          $925.00    $925.00
PS Caruso                                                       4.80           925.00    4,440.00
KS Mills                                                        1.80           775.00    1,395.00
Total Hours and Fees                                            7.60                    $6,760.00
                  Case 14-10979-CSS        Doc 5163-5          Filed 07/29/15      Page 97 of 148
                                         SIDLEY AUSTIN LLP             BEIJING        HONG KONG            SHANGHAI
                                         1501 K STREET, N.W.           BOSTON         HOUSTON              SINGAPORE
                                         WASHINGTON, D.C. 20005        BRUSSELS       LONDON               SYDNEY
                                         (202) 736 8000                CENTURY CITY   LOS ANGELES          TOKYO
                                         (202) 736 8711 FAX            CHICAGO        NEW YORK             WASHINGTON, D.C.
                                                                       DALLAS         PALO ALTO
                                                                       GENEVA         SAN FRANCISCO

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                                                                                                    FEDERAL ID XX-XXXXXXX

                                                   June 10, 2015

       Energy Future Holdings Corp.
       1601 Bryan Street
       43rd Floor
       Dallas, TX 75291
                                                                                      PLEASE INDICATE INVOICE
                                               **DRAFT BILL**                         NUMBER ON REMITTANCE
                                                                                      Invoice Number ******
                                                                                      Client Matter 58409-30260

                                         REMITTANCE PAGE
                                  For Professional Services Rendered

Total Due This Bill                                                                                     $6,760.00




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Sidley Austin LLP                                                                Sidley Austin LLP
P.O. Box 0642                                                                    JP Morgan Chase Bank, NA
Chicago, Illinois 60690                                                          Account Number: 5519624
                                                                                 ABA Number: 071000013
                                                                                 Swift Code: CHASUS33XXX

                               Payment is Due Within 30 Days of Receipt of Invoice
Case 14-10979-CSS   Doc 5163-5   Filed 07/29/15   Page 98 of 148
Case 14-10979-CSS   Doc 5163-5   Filed 07/29/15   Page 99 of 148
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                 Case 14-10979-CSS          Doc 5163-5           Filed 07/29/15     Page 114 of 148
                                           SIDLEY AUSTIN LLP             BEIJING        HONG KONG           SHANGHAI
                                           1501 K STREET, N.W.           BOSTON         HOUSTON             SINGAPORE
                                           WASHINGTON, D.C. 20005        BRUSSELS       LONDON              SYDNEY
                                           (202) 736 8000                CENTURY CITY   LOS ANGELES         TOKYO
                                           (202) 736 8711 FAX            CHICAGO        NEW YORK            WASHINGTON, D.C.
                                                                         DALLAS         PALO ALTO
                                                                         GENEVA         SAN FRANCISCO

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                                                                                                    FEDERAL ID XX-XXXXXXX

                                                      June 10, 2015
       Energy Future Holdings Corp.
       1601 Bryan Street
       43rd Floor
       Dallas, TX 75291
                                                                                        PLEASE INDICATE INVOICE
                                                  **DRAFT BILL**                        NUMBER ON REMITTANCE
                                                                                        Invoice Number ******
                                                                                        Client Matter 58409-30070


For professional services rendered through December 31, 2014 re
Professional Retention


Fees                                                                                                            $9,958.00


Total Due This Bill                                                                                             $9,958.00




Remit Check Payments To:                                                           Remit Wire Payments To:
Sidley Austin LLP                                                                  Sidley Austin LLP
P.O. Box 0642                                                                      JP Morgan Chase Bank, NA
Chicago, Illinois 60690                                                            Account Number: 5519624
                                                                                   ABA Number: 071000013
                                                                                   Swift Code: CHASUS33XXX

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                     Case 14-10979-CSS   Doc 5163-5      Filed 07/29/15      Page 115 of 148
 SIDLEY AUSTIN LLP


 Invoice Number: ******
 Energy Future Holdings Corp.

 RE: Professional Retention

                                           TIME DETAIL


Date                 Name                Narrative                                                          Hours
12/02/14             MT Gustafson        Prepare supplemental retention application materials (2.8); E-      2.90
                                         mail to K. Mills re: same with comment (.1)
12/02/14             KS Mills            Analyze status of supplemental retention declaration (.1);           .20
                                         communications w/ M. Gustafson re: preparation of schedule to
                                         same (.1)
12/03/14             MT Gustafson        Incorporate edits to Schedule materials for inclusion with          1.30
                                         supplemental retention application (1.3)
12/03/14             KS Mills            Review draft schedule to supplemental declaration (.2); analyze      .40
                                         certain related documents (.1); communications with M.
                                         Gustafson re: draft schedule (.1)
12/04/14             MT Gustafson        Finalize materials for inclusion with supplemental retention         .20
                                         application and send same to K. Mills (.2)
12/04/14             GM King             Call with K. Mills re: supplemental declaration                      .20
12/09/14             MA Clemente         Review revised supplemental affidavit drafts (.7); comment on       1.00
                                         same (.3)
12/09/14             GM King             Prepare schedules of retention application for filing (3.7);        4.30
                                         revise retention application and meetings with P. Caruso re:
                                         retention application (0.6)
12/10/14             KS Mills            Review draft supplemental declaration (.1);communications w/         .20
                                         G. King re: same (.1)
12/11/14             PS Caruso           Review supplemental declaration (.6); revise same (.4)              1.00
12/17/14             PS Caruso           Review and finalize supplemental affidavit (.7); office             1.00
                                         conference with G. King regarding same (.3)
12/17/14             GM King             Draft supplemental declaration (0.9); calls with K. Mills and P.    1.30
                                         Caruso re: declaration (0.4)
                                                                                            Total Hours     14.00
                     Case 14-10979-CSS   Doc 5163-5   Filed 07/29/15    Page 116 of 148
 SIDLEY AUSTIN LLP


 Invoice Number: ******
 Energy Future Holdings Corp.

 RE: Professional Retention



                                          TIME SUMMARY



Name                                                           Hours              Rate     Amount
MA Clemente                                                      1.00          $925.00     $925.00
PS Caruso                                                        2.00           925.00     1,850.00
KS Mills                                                          .80           775.00      620.00
GM King                                                          5.80           665.00     3,857.00
MT Gustafson                                                     4.40           615.00     2,706.00
Total Hours and Fees                                            14.00                     $9,958.00
                  Case 14-10979-CSS         Doc 5163-5            Filed 07/29/15     Page 117 of 148
                                           SIDLEY AUSTIN LLP              BEIJING        HONG KONG            SHANGHAI
                                           1501 K STREET, N.W.            BOSTON         HOUSTON              SINGAPORE
                                           WASHINGTON, D.C. 20005         BRUSSELS       LONDON               SYDNEY
                                           (202) 736 8000                 CENTURY CITY   LOS ANGELES          TOKYO
                                           (202) 736 8711 FAX             CHICAGO        NEW YORK             WASHINGTON, D.C.
                                                                          DALLAS         PALO ALTO
                                                                          GENEVA         SAN FRANCISCO

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                                                                                                       FEDERAL ID XX-XXXXXXX

                                                     June 10, 2015

       Energy Future Holdings Corp.
       1601 Bryan Street
       43rd Floor
       Dallas, TX 75291
                                                                                         PLEASE INDICATE INVOICE
                                                 **DRAFT BILL**                          NUMBER ON REMITTANCE
                                                                                         Invoice Number ******
                                                                                         Client Matter 58409-30070

                                           REMITTANCE PAGE
                                    For Professional Services Rendered

                                      OUTSTANDING STATEMENTS

                             Date                           Invoice                           Balance

                       10/30/14                        34059331                            $36,446.30
                       10/30/14                        34059371                              1,944.60
                       10/30/14                        34059383                                966.00
                       10/30/14                        34059393                             27,822.20
                       12/12/14                        34070895                            245,019.50
                       12/12/14                        34070913                             24,572.00

Total Outstanding Invoices                                                                              $336,770.60

Total This Bill                                                                                              9,958.00

Total Amount Due                                                                                        $346,728.60




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Sidley Austin LLP                                                                   Sidley Austin LLP
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Chicago, Illinois 60690                                                             Account Number: 5519624
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                 Case 14-10979-CSS          Doc 5163-5           Filed 07/29/15     Page 118 of 148
                                           SIDLEY AUSTIN LLP             BEIJING        HONG KONG           SHANGHAI
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                                                                         DALLAS         PALO ALTO
                                                                         GENEVA         SAN FRANCISCO

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                                                      June 10, 2015
       Energy Future Holdings Corp.
       1601 Bryan Street
       43rd Floor
       Dallas, TX 75291
                                                                                        PLEASE INDICATE INVOICE
                                                  **DRAFT BILL**                        NUMBER ON REMITTANCE
                                                                                        Invoice Number ******
                                                                                        Client Matter 58409-30090


For professional services rendered through December 31, 2014 re Fee
Applications


Fees                                                                                                           $38,230.00


Total Due This Bill                                                                                            $38,230.00




Remit Check Payments To:                                                           Remit Wire Payments To:
Sidley Austin LLP                                                                  Sidley Austin LLP
P.O. Box 0642                                                                      JP Morgan Chase Bank, NA
Chicago, Illinois 60690                                                            Account Number: 5519624
                                                                                   ABA Number: 071000013
                                                                                   Swift Code: CHASUS33XXX

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                     Case 14-10979-CSS   Doc 5163-5      Filed 07/29/15       Page 119 of 148
 SIDLEY AUSTIN LLP


 Invoice Number: ******
 Energy Future Holdings Corp.

 RE: Fee Applications

                                           TIME DETAIL


Date                 Name                Narrative                                                            Hours
12/01/14             PS Caruso           Review September and October draft fee applications (.9);             1.20
                                         communications with G. King regarding same (.3)
12/01/14             PS Caruso           Communications with K. Mills regarding UST requests (.4);             1.30
                                         review pleadings re: same (.6); review proposed budgets (.3)
12/01/14             GM King             Review EFH docket and correspondence re: monthly fee                  2.70
                                         applications (0.2); correspondence re: fee application (0.2); call
                                         with K. Mills re: same (0.1); review materials for fee
                                         application preparation (2.1); review fee committee memo (0.1)
12/01/14             DJ Lutes            Prepare fee application materials for September and October           1.90
                                         (1.6); emails with billing specialist re: same (.3)
12/02/14             GM King             Review draft monthly applications (0.3); correspondence with           .80
                                         Sidley team re: Trustee objection (0.5)
12/02/14             DJ Lutes            Prepare fee application materials for September and October           1.90
                                         (1.7); emails with billing specialists re: same (.2)
12/03/14             PS Caruso           Review draft fee applications                                          .80
12/03/14             DJ Lutes            Prepare fee application materials for September and October           1.50
                                         (.9); review timekeeper matters for Luminant (.3); confer with
                                         M. Dayton re: fee application materials re: same (.3)
12/04/14             GM King             Call with D. Lutes re: monthly applications (0.1); review              .30
                                         materials re: monthly applications (0.2)
12/04/14             DJ Lutes            Prepare fee application materials for September (3.1); prepare        6.80
                                         fee application materials for October (2.8); review timekeeper
                                         matters for compliance (.5); correspond with J. Romero re:
                                         Luminant fees and costs (.4);
12/05/14             GM King             Prepare fee applications for filing (1.2); prepare fee application    4.00
                                         exhibits for filing (2.8)
12/05/14             DJ Lutes            Prepare fee application materials for September (2.3); prepare        5.20
                                         fee application materials for October (2.1); correspond with
                                         billing specialists re: same (.8)
12/08/14             GM King             Call with K. Mills re: budget (0.2); review fee application           2.00
                                         pleadings (1.6); correspondence with Sidley team re: budget
                                         (0.2)
12/08/14             DJ Lutes            Correspond to G. King re: fee application materials and status         .70
                                         (.3); email to billing specialist re: November fee application
                                         (.1); prepare November fee application materials (.3)
12/09/14             GM King             Revise fee applications                                                .30
                     Case 14-10979-CSS   Doc 5163-5      Filed 07/29/15       Page 120 of 148
 SIDLEY AUSTIN LLP


 Invoice Number: ******
 Energy Future Holdings Corp.

 RE: Fee Applications

Date                 Name                Narrative                                                            Hours
12/09/14             DJ Lutes            Prepare November fee application materials (1.6); emails with         1.80
                                         billing specialist re: same (.2)
12/10/14             PS Caruso           Communications with G. King regarding budget and different             .60
                                         debtor estates
12/10/14             PS Caruso           Review September fee application (.7); review October fee             2.20
                                         application (.8); communications with Company regarding fee
                                         matters (.7)
12/10/14             GM King             Call with K. Mills re: budget (0.3); Call with D. Lutes re: fee       6.60
                                         applications (0.2); revise fee application (0.6); prepare fee
                                         application for filing (4.6); draft correspondence to Sidley team
                                         re: fee application and budget (0.7); revise budget (0.2)
12/10/14             DJ Lutes            Prepare fee application materials and exhibits for September          3.50
                                         and October (2.1); review costs re: same (.6); correspond with
                                         billing specialists re: same (.4); correspond with G. King re: fee
                                         application issues (.4 )
12/11/14             PS Caruso           Review January budget (.4); review September fee application          1.40
                                         (.6); revise same (.4)
12/11/14             GM King             Prepare payment packages for transmittal (2.9); call with K.          3.40
                                         Mills re: payment (0.2); draft budget (0.3)
12/11/14             DJ Lutes            Prepare 2nd interim fee application materials (.8); prepare           1.10
                                         monthly fee application for November (.3)
12/12/14             PS Caruso           Review correspondence re: fee applications (.2);                      2.50
                                         communications with EFH regarding same (.3); assess
                                         responses to inquiries from UST (.7); review docket/pleadings
                                         (.3); review proposed budgets (.4); discuss same with G. King
                                         (.6)
12/12/14             GM King             Calls with accounting re: fee applications (0.3); call with K.        1.40
                                         Mills re: same (0.2); meeting with P. Caruso re: same (0.6);
                                         review fee committee materials (0.3)
12/12/14             DJ Lutes            Prepare 2nd interim fee application materials (.7); emails with        .80
                                         billing specialist re: monthly fee applications (.1)
12/15/14             PS Caruso           Communication with K. Mills re: information requests (.7);            1.00
                                         review correspondence re: same (.3)
12/15/14             GM King             Correspondence re: budget issues (0.2); review documents for           .40
                                         budget information (0.2)
12/15/14             DJ Lutes            Prepare November monthly fee application materials (.9);              1.10
                                         email to G. King re: status and next steps (.2)
12/16/14             PS Caruso           Office conference with K. Mills regarding information                 1.00
                                         contained in first interim fee application (.4); review same (.6)
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 SIDLEY AUSTIN LLP


 Invoice Number: ******
 Energy Future Holdings Corp.

 RE: Fee Applications

Date                 Name                Narrative                                                       Hours
12/16/14             GM King             Prepare supporting materials for monthly applications (0.4);      .60
                                         call with K. Mills re: budget and case status (0.2)
12/18/14             DJ Lutes            Prepare fee application materials for November (.7); emails       .90
                                         with billing specialist re: same (.2)
12/19/14             DJ Lutes            Correspond with R. Sherman re: reconciliation of monthly fee      .30
                                         applications
12/23/14             GM King             Review and analyze November fee application materials (2.6);     3.20
                                         calls with D. Lutes re: November fee application (0.2);
                                         correspondence with Sidley team re: same (0.4)
12/23/14             DJ Lutes            Prepare November monthly fee application (.5); TC with J.        1.10
                                         Romero re: same (.2); correspondence with G. King, B. Beaton
                                         and J. Romero re: same (.4)
12/24/14             DJ Lutes            Prepare monthly fee application                                   .50
                                                                                           Total Hours   66.80
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 SIDLEY AUSTIN LLP


 Invoice Number: ******
 Energy Future Holdings Corp.

 RE: Fee Applications



                                          TIME SUMMARY



Name                                                           Hours              Rate      Amount
PS Caruso                                                       12.00          $925.00    $11,100.00
GM King                                                         25.70           665.00     17,090.50
DJ Lutes                                                        29.10           345.00     10,039.50
Total Hours and Fees                                            66.80                     $38,230.00
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                                           SIDLEY AUSTIN LLP              BEIJING        HONG KONG            SHANGHAI
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                                                                          DALLAS         PALO ALTO
                                                                          GENEVA         SAN FRANCISCO

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                                                                                                       FEDERAL ID XX-XXXXXXX

                                                     June 10, 2015

       Energy Future Holdings Corp.
       1601 Bryan Street
       43rd Floor
       Dallas, TX 75291
                                                                                         PLEASE INDICATE INVOICE
                                                 **DRAFT BILL**                          NUMBER ON REMITTANCE
                                                                                         Invoice Number ******
                                                                                         Client Matter 58409-30090

                                           REMITTANCE PAGE
                                    For Professional Services Rendered

                                      OUTSTANDING STATEMENTS

                             Date                           Invoice                           Balance

                       10/30/14                        34059394                              $255.30
                       12/12/14                        34070896                             78,530.30
                       12/12/14                        34070914                            122,256.10

Total Outstanding Invoices                                                                              $201,041.70

Total This Bill                                                                                            38,230.00

Total Amount Due                                                                                        $239,271.70




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Sidley Austin LLP                                                                   Sidley Austin LLP
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                                           SIDLEY AUSTIN LLP             BEIJING        HONG KONG           SHANGHAI
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                                                      June 10, 2015
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                                                  **DRAFT BILL**                        NUMBER ON REMITTANCE
                                                                                        Invoice Number ******
                                                                                        Client Matter 58409-30100


For professional services rendered through December 31, 2014 re Case
Administration


Expenses:
 Duplicating Charges                                                     $1,227.38
 Telephone Tolls                                                              6.96


Total Expenses                                                                                                    1,234.34


Total Due This Bill                                                                                             $1,234.34




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                                                     June 10, 2015

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                                                                                         Invoice Number ******
                                                                                         Client Matter 58409-30100

                                           REMITTANCE PAGE
                                    For Professional Services Rendered

                                      OUTSTANDING STATEMENTS

                             Date                           Invoice                           Balance

                       10/30/14                        34059336                             $1,372.60
                       10/30/14                        34059373                              2,199.10
                       10/30/14                        34059384                              2,497.40
                       10/30/14                        34059395                              5,118.00
                       12/12/14                        34070899                             40,786.07
                       12/12/14                        34070916                            100,905.27

Total Outstanding Invoices                                                                              $152,878.44

Total This Bill                                                                                              1,234.34

Total Amount Due                                                                                        $154,112.78




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                                                       June 10, 2015
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       Dallas, TX 75291
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                                                   **DRAFT BILL**                        NUMBER ON REMITTANCE
                                                                                         Invoice Number ******
                                                                                         Client Matter 58409-30240


For professional services rendered through December 31, 2014 re Inter-
Company Issues


Fees                                                                                                            $21,121.50


Total Due This Bill                                                                                             $21,121.50




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 Invoice Number: ******
 Energy Future Holdings Corp.

 RE: Inter-Company Issues

                                           TIME DETAIL


Date                 Name                Narrative                                                           Hours
12/01/14             JF Conlan           Review issues and conclusions re: pre-petition work (1.4);           2.50
                                         analyze results from pre-petition work in connection with post-
                                         petition issues (1.1)
12/03/14             PS Caruso           Review report regarding inter-company analysis and retention         1.70
                                         documents in connection with same (1.2); review materials re:
                                         potential intercompany issues (.5)
12/05/14             GM King             Review pleadings and case developments re: bidding                   1.20
                                         procedures and Oncor sale (1.2)
12/08/14             GM King             Correspondence re: directors and board (0.2); research re: same       .90
                                         (0.7)
12/09/14             PS Caruso           Review reports in connection with TCEH independent manager           6.00
                                         (5.4); office conference with J. Conlan regarding same (.6)
12/09/14             JF Conlan           Analyze issues and conclusions re: interplay with independent        5.00
                                         directors (2.2); analyze issues re: estate causes of action (2.8)
12/10/14             PS Caruso           Review materials involving potential intercompany matters            1.70
                                         (.7); communicate with counsel to independent manager
                                         regarding analysis (.4); analysis re: same (.6)
12/11/14             PS Caruso           Assess potential inter-company issues in connection with              .60
                                         proposed sale
12/12/14             PS Caruso           Analyze materials re: inter-company analysis in connection           1.00
                                         with proposed Oncor marketing (.3); review materials re:
                                         independent manager process (.7)
12/16/14             PS Caruso           Office conferences with J. Conlan regarding TCEH                     1.00
                                         independent manager issues
                                                                                              Total Hours    21.60
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 SIDLEY AUSTIN LLP


 Invoice Number: ******
 Energy Future Holdings Corp.

 RE: Inter-Company Issues



                                          TIME SUMMARY



Name                                                           Hours              Rate      Amount
JF Conlan                                                        7.50         $1,150.00    $8,625.00
PS Caruso                                                       12.00           925.00     11,100.00
GM King                                                          2.10           665.00      1,396.50
Total Hours and Fees                                            21.60                     $21,121.50
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                                           SIDLEY AUSTIN LLP              BEIJING        HONG KONG            SHANGHAI
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                                                     June 10, 2015

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                                                                                         Client Matter 58409-30240

                                           REMITTANCE PAGE
                                    For Professional Services Rendered

                                      OUTSTANDING STATEMENTS

                             Date                           Invoice                           Balance

                       12/12/14                        34070901                             $4,154.50
                       12/12/14                        34070918                              5,550.00

Total Outstanding Invoices                                                                                 $9,704.50

Total This Bill                                                                                            21,121.50

Total Amount Due                                                                                          $30,826.00




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                                                  **DRAFT BILL**                        NUMBER ON REMITTANCE
                                                                                        Invoice Number ******
                                                                                        Client Matter 58409-30260


For professional services rendered through December 31, 2014 re
Sponsor Matters


Fees                                                                                                           $26,978.00


Total Due This Bill                                                                                            $26,978.00




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 Invoice Number: ******
 Energy Future Holdings Corp.

 RE: Sponsor Matters

                                           TIME DETAIL


Date                 Name                Narrative                                                           Hours
12/02/14             MA Clemente         Conf with Conlan regarding sponsor-related issues                     .50
12/08/14             PS Caruso           Office conferences with J. Conlan regarding independent              6.00
                                         manager issues (2.0); review relevant materials re: independent
                                         manager status (2.3); review pre-petition materials re: sponsor
                                         issues (1.7)
12/08/14             MA Clemente         Conf with J. Conlan and P. Caruso and K. Mills regarding             1.50
                                         various issues including issues related to sponsors (.8); conf
                                         with K. Mills and P. Caruso regarding same (.7)
12/08/14             JF Conlan           Communicatioms with McKane, L. Nyhan, M. Clemente, P.                6.50
                                         Caruso, K. Lantry, Wolper re: issues related to Sponsors and
                                         Debtors (3.9); review prepetition analyses and conclusions
                                         (2.6)
12/08/14             KT Lantry           Discuss developments in case and potential sponsor-related            .30
                                         tasks with J. Conlan
12/08/14             KS Mills            O/C with J.Conlan, P. Caruso, M. Clemente re: certain case           5.40
                                         issues (.5); follow up communications re: same (.3);research
                                         and summarize certain related issues (1.3); analyze certain
                                         related issues (1.0); analyze current case status/certain related
                                         issues (2.3)
12/11/14             JF Conlan           Communications with K. Lantry re: approach and independent           1.00
                                         director roles on conflicted matters (.7); analyze materials re:
                                         same (.3)
12/15/14             PS Caruso           Telephone conference with S. Wynn regarding fraudulent               1.00
                                         transfer analysis
12/15/14             JF Conlan           Analyze interplay with independent directors and plan process        2.00
                                         (1.3); review materials re: same (.7)
12/18/14             JF Conlan           Analyze EFH situation (.3); analyze prepetition analysis (.7)        1.00
12/18/14             GM King             Telephonically attend EFH status conference hearing (1.0);           1.20
                                         draft status update re: case (0.2)
12/22/14             JF Conlan           Email to K&E Debtors' counsel re: scope of potential issues          1.10
                                         (.4); analyze issues relating to same (.7)
                                                                                              Total Hours    27.50
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 Invoice Number: ******
 Energy Future Holdings Corp.

 RE: Sponsor Matters



                                          TIME SUMMARY



Name                                                           Hours              Rate      Amount
JF Conlan                                                       11.60         $1,150.00   $13,340.00
KT Lantry                                                         .30          1,100.00      330.00
MA Clemente                                                      2.00           925.00      1,850.00
PS Caruso                                                        7.00           925.00      6,475.00
KS Mills                                                         5.40           775.00      4,185.00
GM King                                                          1.20           665.00       798.00
Total Hours and Fees                                            27.50                     $26,978.00
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                                         SIDLEY AUSTIN LLP             BEIJING        HONG KONG            SHANGHAI
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                                                   June 10, 2015

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       1601 Bryan Street
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                                                                                      Client Matter 58409-30260

                                         REMITTANCE PAGE
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